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     EXHIBIT 85
                  (Corrected)
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                     JAMES D. NEALON - 08/22/2018                          ·

  1                  UNITED STATES DISTRICT COURT
  2               NORTHERN DISTRICT OF CALIFORNIA
  3                            SAN FRANCISCO
  4                                  Case No. 3:18-cv-1554-EMC
  5    - - - - - - - - - - - - - - - - - - - x
  6    CRISTA RAMOS, et al.,
  7                   Plaintiffs,
  8    v.
  9    KIRSTJEN NIELSEN, et al.,
10                    Defendants.
11     - - - - - - - - - - - - - - - - - - - -x
12                               VOLUME II
13           VIDEOTAPED DEPOSITION OF JAMES D. NEALON
14              Wednesday, August 22, 2018 1:15 p.m.
15                          Sidley Austin LLP
16               60 State Street, Boston, MA 02109
17
18
19
20     Reported by:
21     Janet Sambataro, RMR, CRR, CLR
22     JOB NO. LA-189184
23
24
25


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 ·1· · · · · · · · P R O C E E D I N G S
 ·2· · · · · · ·THE VIDEOGRAPHER:· Here begins Media                               13:14:58
 ·3· ·No. 1 in today's deposition of James Nealon in                               13:15:01
 ·4· ·the matter of Crista Ramos versus Kirstjen                                   13:15:07
 ·5· ·Nielsen, et al., in the United States District                               13:15:12
 ·6· ·Court, Northern District of California, San                                  13:15:16
 ·7· ·Francisco, Case No. 3:18-cv-1554-EMC.                                        13:15:19
 ·8· · · · · · ·Today's date is August 22nd, 2018.· The                            13:15:29
 ·9· ·time on the video monitor is 1:15 p.m.                                       13:15:35
 10· · · · · · ·The video operator today is Jody                                   13:15:41
 11· ·Urbati.· And this deposition is taking place at                              13:15:43
 12· ·Sidley Austin in Boston, Massachusetts.· The                                 13:15:50
 13· ·court reporter today is Janet Sambataro.                                     13:15:55
 14· · · · · · ·Counsel, please identify yourselves,                               13:16:00
 15· ·state whom you represent, and then the witness                               13:16:04
 16· ·shall be sworn.                                                              13:16:07
 17· · · · · · ·MS. MacLEAN:· Emilou MacLean for the                               13:16:09
 18· ·plaintiffs.                                                                  13:16:12
 19· · · · · · ·MS. FISHFELD:· Jessica Fishfeld from                               13:16:13
 20· ·Sidley Austin for the plaintiffs.                                            13:16:14
 21· · · · · · ·MR. KIRSCHNER:· Adam Kirschner from the                            13:16:16
 22· ·Department of Justice for the defendants.                                    13:16:18
 23· · · · · · ·MS. BROWNE:· René Browne from the                                  13:16:21
 24· ·United States Department of Homeland Security for                            13:16:22
 25· ·the defendants.                                                              13:16:24


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 ·1· · · · · · · · · JAMES D. NEALON,                                              13:16:25
 ·2· ·having been duly sworn, after presenting                                     13:16:25
 ·3· ·identification in the form of a driver's license,                            13:16:25
 ·4· ·deposes and says as follows:                                                 13:16:25
 ·5· · · · · · · · CONTINUED EXAMINATION                                           13:16:33
 ·6· ·BY MS. MacLEAN:                                                              13:16:33
 ·7· · · · Q.· ·Hello again, Ambassador Nealon.· So                                13:16:36
 ·8· ·we -- I imagine you have not had any depositions                             13:16:40
 ·9· ·since we last spoke?                                                         13:16:42
 10· · · · A.· ·I have not.                                                        13:16:43
 11· · · · Q.· ·We went over admonitions and basic                                 13:16:44
 12· ·ground rules for the depositions at the outset of                            13:16:47
 13· ·the previous deposition.                                                     13:16:50
 14· · · · Are you still familiar with those and                                   13:16:51
 15· ·comfortable with those or would you like me to go                            13:16:53
 16· ·over them again?                                                             13:16:55
 17· · · · A.· ·I'm comfortable.                                                   13:16:56
 18· · · · Q.· ·Okay.· I think the most important is                               13:16:57
 19· ·that you should feel comfortable also letting us                             13:17:00
 20· ·know if you want a break or need a break.· It's                              13:17:02
 21· ·not as long as the previous deposition, but I                                13:17:05
 22· ·presume it will be at least one break at some                                13:17:07
 23· ·point during the day.· If I'm in the middle of a                             13:17:11
 24· ·question, we'll probably go through that                                     13:17:14
 25· ·question, but don't hesitate to let us know.                                 13:17:16


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 ·1· · · · And the same goes for the court reporter.                               13:17:19
 ·2· · · · So you recall that at the last deposition,                              13:17:23
 ·3· ·there were a number of objections that were made                             13:17:29
 ·4· ·by your counsel and there was a legal dispute                                13:17:31
 ·5· ·around whether you would be required to answer                               13:17:36
 ·6· ·questions related to what is called "deliberative                            13:17:42
 ·7· ·process."· There were also a number of documents                             13:17:46
 ·8· ·that the government had identified that were                                 13:17:49
 ·9· ·relevant to the case but that had been withheld                              13:17:51
 10· ·on the ground that they were related to                                      13:17:54
 11· ·deliberative process.                                                        13:17:58
 12· · · · In the intervening time, the Court resolved                             13:18:00
 13· ·that you can answer those questions and that the                             13:18:03
 14· ·government could provide us and needed to provide                            13:18:10
 15· ·us with the information that they had withheld.                              13:18:12
 16· ·So the questions that we're going to go over                                 13:18:15
 17· ·today are related to the topics that you had been                            13:18:17
 18· ·asked about but had not been able to talk about                              13:18:20
 19· ·further.                                                                     13:18:24
 20· · · · Are you -- are you aware of that?                                       13:18:25
 21· · · · A.· ·Yes.                                                               13:18:26
 22· · · · Q.· ·And they'll also be related to some of                             13:18:27
 23· ·the documents that we've received over the course                            13:18:30
 24· ·of the last week.                                                            13:18:32
 25· · · · Are you familiar with that as well?                                     13:18:33


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 ·1· · · · A.· ·Yes.                                                               13:18:34
 ·2· · · · Q.· ·Have you seen any of the documents that                            13:18:35
 ·3· ·the government has produced?                                                 13:18:37
 ·4· · · · A.· ·I haven't seen any additional documents                            13:18:40
 ·5· ·since the last deposition.                                                   13:18:42
 ·6· · · · Q.· ·Okay.                                                              13:18:44
 ·7· · · · A.· ·With the exception of, I did look at                               13:18:45
 ·8· ·parts of the transcript from the last deposition.                            13:18:47
 ·9· · · · Q.· ·Okay.· And did you have any other                                  13:18:50
 10· ·meetings with your counsel or anyone else since                              13:18:55
 11· ·the last deposition, about either the litigation                             13:18:57
 12· ·or the subject matter of the litigation?                                     13:18:59
 13· · · · A.· ·Yes.· I met this morning with counsel.                             13:19:03
 14· · · · Q.· ·Okay.· And about how long did you meet?                            13:19:05
 15· · · · A.· ·For a couple of hours.                                             13:19:08
 16· · · · Q.· ·Okay.· So one of the topics that we had                            13:19:10
 17· ·discussed previously was your knowledge of any                               13:19:16
 18· ·engagement with the White House concerning or                                13:19:22
 19· ·anyone affiliated with the White House concerning                            13:19:24
 20· ·TPS.· So I'm going to start there and go back to                             13:19:30
 21· ·ask you, who do you know was engaged from the                                13:19:34
 22· ·White House in questions related to Temporary                                13:19:39
 23· ·Protected Status?                                                            13:19:41
 24· · · · A.· ·Just so that I can answer your question                            13:19:45
 25· ·as thoroughly as possible, could you just be a                               13:19:47


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 ·1· ·little more specific?· Just restate the question                             13:19:51
 ·2· ·another way?                                                                 13:19:53
 ·3· · · · Q.· ·Yes.                                                               13:19:54
 ·4· · · · A.· ·It's easier to answer.                                             13:19:55
 ·5· · · · Q.· ·Yes.                                                               13:19:56
 ·6· · · · Are you aware that there were any                                       13:19:57
 ·7· ·conversations with anyone who worked at the White                            13:19:58
 ·8· ·House in any capacity with anyone in the                                     13:20:01
 ·9· ·Department of Homeland Security -- we'll start                               13:20:05
 10· ·there -- related to Temporary Protected Status?                              13:20:07
 11· · · · A.· ·Yes.                                                               13:20:09
 12· · · · Q.· ·And who were the people from the White                             13:20:10
 13· ·House who you know or have reason to believe were                            13:20:12
 14· ·involved in conversations related to Temporary                               13:20:16
 15· ·Protected Status?                                                            13:20:18
 16· · · · A.· ·So I was told that Stephen Miller, from                            13:20:20
 17· ·the White House, was in touch with Chad Wolf, who                            13:20:26
 18· ·was the Secretary's Chief of Staff, regarding                                13:20:29
 19· ·TPS.                                                                         13:20:36
 20· · · · Q.· ·And who told you that?                                             13:20:37
 21· · · · A.· ·Chad Wolf.                                                         13:20:38
 22· · · · Q.· ·And do you have an understanding of                                13:20:40
 23· ·approximately how many times Stephen Miller had                              13:20:43
 24· ·communications with Chad Wolf?                                               13:20:48
 25· · · · A.· ·I don't.· I don't have a number.· Chad                             13:20:50


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 ·1· ·Wolf told me that he was in frequent touch with                              13:20:53
 ·2· ·Stephen Miller.                                                              13:20:57
 ·3· · · · Q.· ·And --                                                             13:20:59
 ·4· · · · A.· ·Or, better said, that Stephen Miller                               13:20:59
 ·5· ·was in frequent touch with him.                                              13:21:01
 ·6· · · · Q.· ·So is it your understanding that Chad                              13:21:02
 ·7· ·Wolf reached out to Stephen Miller or that                                   13:21:06
 ·8· ·Stephen Miller reached out to Chad Wolf?                                     13:21:09
 ·9· · · · A.· ·My understanding, from a very brief                                13:21:11
 10· ·conversation with Chad Wolf, is that                                         13:21:14
 11· ·Stephen Miller was reaching out to Chad Wolf.                                13:21:16
 12· · · · Q.· ·Okay.· And when Stephen Miller was                                 13:21:19
 13· ·reaching out to Chad Wolf, from what you                                     13:21:21
 14· ·understand from that conversation with Mr. Wolf,                             13:21:23
 15· ·was that conversation -- was the outreach                                    13:21:27
 16· ·specifically related to Temporary Protected                                  13:21:29
 17· ·Status?                                                                      13:21:30
 18· · · · · · ·MR. KIRSCHNER:· Objection.· Calls for                              13:21:31
 19· ·hearsay testimony.                                                           13:21:33
 20· · · · A.· ·So I had one conversation, a very brief                            13:21:38
 21· ·conversation with Chad Wolf, in which he told me                             13:21:41
 22· ·that Stephen Miller had been reaching out to him                             13:21:43
 23· ·frequently regarding TPS.                                                    13:21:46
 24· · · · Q.· ·Do you remember approximately when that                            13:21:49
 25· ·conversation took place?                                                     13:21:50


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 ·1· · · · A.· ·I don't.                                                           13:21:52
 ·2· · · · Q.· ·Do you remember if it was before or                                13:21:53
 ·3· ·after the decision regarding the termination of                              13:21:56
 ·4· ·TPS for Sudan?                                                               13:22:00
 ·5· · · · A.· ·I believe it was after.                                            13:22:04
 ·6· · · · Q.· ·Do you remember if it was before or                                13:22:05
 ·7· ·after -- strike that.                                                        13:22:07
 ·8· · · · So, just to make it clear, we're talking                                13:22:10
 ·9· ·about the conversation that you had with                                     13:22:13
 10· ·Mr. Wolf?                                                                    13:22:14
 11· · · · A.· ·(Witness nodded.)                                                  13:22:14
 12· · · · Q.· ·And I understand that you might not                                13:22:15
 13· ·know exactly when the conversations took place                               13:22:16
 14· ·with Mr. Miller.                                                             13:22:18
 15· · · · The conversation that you had with Mr. Wolf,                            13:22:20
 16· ·was that conversation, to your recollection,                                 13:22:21
 17· ·before or after the decision had been made with                              13:22:24
 18· ·regard to TPS for Nicaragua?                                                 13:22:28
 19· · · · A.· ·I believe it was before.                                           13:22:32
 20· · · · Q.· ·And what did Mr. Wolf convey about the                             13:22:39
 21· ·communications that he had with Mr. Miller?                                  13:22:43
 22· · · · · · ·MR. KIRSCHNER:· Objection.· Again,                                 13:22:45
 23· ·calling for hearsay.                                                         13:22:46
 24· · · · A.· ·So it was a very brief conversation                                13:22:49
 25· ·with Mr. Wolf in which he told me that                                       13:22:53


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 ·1· ·Stephen Miller had been reaching out to him                                  13:22:58
 ·2· ·frequently regarding TPS.· And that -- that was                              13:23:01
 ·3· ·the extent of the conversation.                                              13:23:05
 ·4· · · · Q.· ·And what was the context in which                                  13:23:10
 ·5· ·Mr. Wolf conveyed that that conversation took                                13:23:12
 ·6· ·place?                                                                       13:23:14
 ·7· · · · A.· ·So I remember we were -- I believe we                              13:23:16
 ·8· ·were in a -- I believe we were outside of his                                13:23:20
 ·9· ·office, either coming out of a meeting or going                              13:23:23
 10· ·into a meeting, and he conveyed that to me.                                  13:23:27
 11· · · · Q.· ·Okay.· And was it in the context of a                              13:23:30
 12· ·conversation around TPS or was it in the context                             13:23:34
 13· ·of a conversation around broader political                                   13:23:36
 14· ·issues?· Was it in the context of a conversation                             13:23:40
 15· ·around Mr. Miller?· Do you remember the context                              13:23:43
 16· ·of the conversation?                                                         13:23:45
 17· · · · A.· ·I don't remember the specific context.                             13:23:45
 18· ·No.                                                                          13:23:47
 19· · · · Q.· ·Did he convey any thoughts about how he                            13:23:49
 20· ·felt about the communications with Mr. Miller?                               13:23:54
 21· · · · A.· ·No.· What I've described to you is                                 13:24:00
 22· ·really the extent of the -- of the conversation.                             13:24:04
 23· · · · Q.· ·Okay.· And did anyone else, to your                                13:24:07
 24· ·knowledge, have communications with Mr. Miller                               13:24:11
 25· ·regarding TPS, besides you?· We'll leave you                                 13:24:13


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 ·1· ·aside for now.                                                               13:24:19
 ·2· · · · A.· ·So maybe be more specific in your                                  13:24:21
 ·3· ·question --                                                                  13:24:22
 ·4· · · · Q.· ·Yes.                                                               13:24:22
 ·5· · · · A.· ·-- it would just help me answer.                                   13:24:22
 ·6· · · · Q.· ·Yes.· Definitely.                                                  13:24:24
 ·7· · · · So you shared that Mr. Wolf communicated to                             13:24:26
 ·8· ·you that he had frequent conversations with                                  13:24:28
 ·9· ·Mr. Miller; that Mr. Miller reached out to him                               13:24:30
 10· ·frequently regarding TPS.                                                    13:24:34
 11· · · · Do you know of anyone else who Mr. Miller                               13:24:36
 12· ·was reaching out to regarding TPS in the                                     13:24:39
 13· ·Department of Homeland Security?                                             13:24:43
 14· · · · · · ·MR. KIRSCHNER:· Objection.· It calls                               13:24:44
 15· ·for speculation.                                                             13:24:47
 16· · · · A.· ·So, yes, I know that, for example,                                 13:24:51
 17· ·Gene Hamilton mentioned on a couple of occasions,                            13:24:55
 18· ·at least, that he had been in touch with                                     13:25:01
 19· ·Mr. Miller regarding TPS.                                                    13:25:04
 20· · · · Q.· ·Do you remember the context in which                               13:25:06
 21· ·Mr. Hamilton mentioned that he had been in touch                             13:25:09
 22· ·with Mr. Miller?                                                             13:25:12
 23· · · · A.· ·I remember that coming up in meetings.                             13:25:12
 24· · · · Q.· ·Were these meetings meetings                                       13:25:16
 25· ·specifically related to TPS?                                                 13:25:19


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 ·1· · · · A.· ·You know, I don't recall if the                                    13:25:21
 ·2· ·meetings were specifically called to discuss TPS                             13:25:24
 ·3· ·or whether they were meetings where TPS came up.                             13:25:27
 ·4· · · · Q.· ·Okay.· And what did Mr. Hamilton convey                            13:25:30
 ·5· ·regarding his communications with Mr. Miller?                                13:25:36
 ·6· · · · · · ·MR. KIRSCHNER:· Objection.· Calls for                              13:25:38
 ·7· ·hearsay.                                                                     13:25:40
 ·8· · · · A.· ·I'm pausing, because I'm trying to                                 13:25:50
 ·9· ·recall specific conversations, and I don't recall                            13:25:52
 10· ·specific conversations.· But what I do recall is                             13:26:01
 11· ·being in meetings where Mr. Hamilton was present                             13:26:04
 12· ·and where he stated that he had been in touch                                13:26:07
 13· ·with Mr. Miller about TPS.                                                   13:26:10
 14· · · · Q.· ·Did he convey that Mr. Miller had an                               13:26:15
 15· ·opinion with regard to TPS?                                                  13:26:17
 16· · · · A.· ·I believe he did, on a couple of                                   13:26:19
 17· ·occasions.                                                                   13:26:21
 18· · · · Q.· ·And what did he convey about the                                   13:26:21
 19· ·opinion that Mr. Miller had with regard to TPS?                              13:26:25
 20· · · · · · ·MR. KIRSCHNER:· Objection.· Calls for                              13:26:27
 21· ·hearsay.                                                                     13:26:28
 22· · · · A.· ·So I recall Mr. Hamilton, on a couple                              13:26:32
 23· ·of occasions, saying that Mr. Miller favored the                             13:26:34
 24· ·termination of TPS.                                                          13:26:39
 25· · · · Q.· ·When he said that he favored the                                   13:26:41


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 ·1· ·termination -- when Mr. Hamilton conveyed that                               13:26:44
 ·2· ·Mr. Miller favored the termination of TPS, was it                            13:26:46
 ·3· ·your understanding that Mr. Miller favored the                               13:26:50
 ·4· ·termination of TPS for a particular country or                               13:26:53
 ·5· ·the termination of TPS as a program?                                         13:26:57
 ·6· · · · · · ·MR. KIRSCHNER:· Objection to the extent                            13:27:01
 ·7· ·it calls for speculation or hearsay testimony.                               13:27:02
 ·8· · · · A.· ·You know, I just don't recall the                                  13:27:07
 ·9· ·specific context of -- of those remarks.                                     13:27:10
 10· · · · Q.· ·Let's try to go back to the -- if you                              13:27:16
 11· ·can recall, sort of the first time that that                                 13:27:20
 12· ·conversation came up in a meeting.                                           13:27:23
 13· · · · Can you recall one specific conversation?                               13:27:25
 14· · · · A.· ·You know, I remember in the -- in the                              13:27:34
 15· ·last deposition, when I was struggling to                                    13:27:35
 16· ·remember specific conversation, I made the point                             13:27:39
 17· ·to you that, you know, I probably had 10,000                                 13:27:42
 18· ·meetings over the last couple of years.· And it's                            13:27:45
 19· ·just very difficult for me to isolate what a                                 13:27:47
 20· ·certain person said in a certain meeting and                                 13:27:51
 21· ·recall when that meeting was and the specific                                13:27:53
 22· ·reason why it was called.· So I -- so if you'll                              13:27:57
 23· ·restate the question --                                                      13:28:01
 24· · · · Q.· ·Yes.                                                               13:28:02
 25· · · · A.· ·-- I'll try to give you the best answer                            13:28:02


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 ·1· ·that I can.                                                                  13:28:04
 ·2· · · · Q.· ·Yes.· I understand the difficulty as                               13:28:05
 ·3· ·well, and I appreciate trying to go back into                                13:28:06
 ·4· ·your recollection from some months back and                                  13:28:09
 ·5· ·recall some of these conversations at what I                                 13:28:11
 ·6· ·imagine was a very turbulent time as well.                                   13:28:13
 ·7· · · · You said that you recalled on a couple of                               13:28:16
 ·8· ·occasions Mr. Hamilton, in meetings, raising that                            13:28:21
 ·9· ·Mr. Miller and he were in communication with                                 13:28:27
 10· ·regard to TPS.                                                               13:28:32
 11· · · · Can you think of one particular meeting                                 13:28:37
 12· ·where that came up?                                                          13:28:39
 13· · · · A.· ·So, again, I recall meetings where --                              13:28:45
 14· ·where it came up, but I -- I can't really tell                               13:28:47
 15· ·you when that meeting was or -- or which meeting                             13:28:54
 16· ·was first and which meeting was second.· I'm                                 13:28:57
 17· ·sorry.· I just -- I don't recall.                                            13:28:59
 18· · · · Q.· ·If you can't think of the order, that's                            13:29:01
 19· ·fine.· What I'm trying to get at is if there is a                            13:29:03
 20· ·particular meeting where you recall that this                                13:29:06
 21· ·came up, something about the context in which it                             13:29:08
 22· ·came up, and something about what was said.                                  13:29:12
 23· · · · So rather than speaking generally about how                             13:29:14
 24· ·Mr. Hamilton was conveying -- what Mr. Hamilton                              13:29:19
 25· ·was conveying about his communications with                                  13:29:22


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 ·1· ·Mr. Miller, if you could jog your memory by                                  13:29:24
 ·2· ·thinking back to a particular meeting, where                                 13:29:27
 ·3· ·Mr. Hamilton conveyed that he had communications                             13:29:30
 ·4· ·with Mr. Miller about TPS.                                                   13:29:33
 ·5· · · · A.· ·So, again, I just -- I'm not able to                               13:29:39
 ·6· ·isolate a particular meeting and the context of                              13:29:42
 ·7· ·that meeting and -- and the context of why he                                13:29:44
 ·8· ·would have said what he said, but I do remember                              13:29:48
 ·9· ·him saying that.                                                             13:29:51
 10· · · · Q.· ·Were all of the meetings that you                                  13:29:56
 11· ·recall Mr. Hamilton raising his communications                               13:29:57
 12· ·with Mr. Miller about TPS at the Department of                               13:30:01
 13· ·Homeland Security?                                                           13:30:06
 14· · · · · · ·MR. KIRSCHNER:· Objection.· Vague.                                 13:30:12
 15· ·Confusing.                                                                   13:30:13
 16· · · · Q.· ·The meetings that you're describing,                               13:30:15
 17· ·where you recall Mr. Hamilton conveying that he                              13:30:17
 18· ·was in communication with Mr. Miller about TPS,                              13:30:21
 19· ·did those meetings take place at the Department                              13:30:24
 20· ·of Homeland Security?                                                        13:30:27
 21· · · · A.· ·I believe they did.· Yes.                                          13:30:28
 22· · · · Q.· ·Do you remember who else was present in                            13:30:31
 23· ·the room at those meetings?                                                  13:30:32
 24· · · · A.· ·Again, it's just very difficult for me                             13:30:35
 25· ·to isolate a particular meeting and see who was                              13:30:37


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  1     else in the Department of Homeland Security about                            13:32:04
  2     the fact that Mr. Miller had communications                                  13:32:06
  3     regarding TPS?                                                               13:32:10
  4            A.     So I don't have a specific memory but                          13:32:12
  5     it wouldn't be unusual for me to -- to give a                                13:32:14
  6     very small selective group of staff a readout of                             13:32:19
  7     an important meeting.                                                        13:32:22
  8            Q.     From -- so before I go there, was there                        13:32:24
  9     anyone else that you recall communicating that                               13:32:28
 10     they were having -- that they had had                                        13:32:31
 11     conversations with Mr. Miller regarding TPS?                                 13:32:34
 12            A.     No.    I don't have a specific memory of                       13:32:48
 13     anyone else telling me that they had had a                                   13:32:50
 14     conversation with Stephen Miller about TPS.                                  13:32:52
 15            Q.     Did it have any significance to you                            13:32:59
 16     when you heard that Mr. Miller was communicating                             13:33:02
 17     with Mr. Wolf and Mr. Hamilton about TPS?                                    13:33:05
 18            A.     Did it have any significance for me?                           13:33:11
 19            Q.     Yes.                                                           13:33:13
 20            A.     Yes.    You know, that's important                             13:33:14
 21     information that an important adviser to the                                 13:33:16
 22     President and the White House has an opinion                                 13:33:19
 23     about an important policy decision.                                          13:33:21
 24            Q.     And in what way was that significant to                        13:33:25
 25     you that an important adviser to the President                               13:33:27


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  1     had an opinion about TPS?                                                     13:33:29
  2                   MR. KIRSCHNER:       Objection.       Vague.     The            13:33:31
  3     word "significant" is vague.                                                  13:33:35
  4            A.     You know, as government employees, we                           13:33:46
  5     all ultimately work for the President.                And so                  13:33:49
  6     having policy input from people from the White                                13:33:53
  7     House is a -- is a normal and important thing.                                13:33:56
  8     And so -- so, yes, it's significant.                                          13:34:03
  9            Q.     Was it your sense that Mr. Miller was                           13:34:11
 10     conveying a position from the White House when                                13:34:13
 11     you heard that?                                                               13:34:15
 12            A.     So I'm not quite sure how to answer                             13:34:21
 13     that question.        I don't know if Mr. Miller was                          13:34:26
 14     conveying someone else's opinion or his own                                   13:34:29
 15     opinion, if that's -- if that's what you're                                   13:34:32
 16     asking.                                                                       13:34:34
 17            Q.     Was it your sense at the time that                              13:34:35
 18     Mr. Miller was conveying an opinion of the White                              13:34:37
 19     House?                                                                        13:34:41
 20                   MR. KIRSCHNER:       Objection.       Calls for                 13:34:43
 21     speculation.                                                                  13:34:44
 22            A.     If I could ask for a clarification.                             13:34:46
 23            Q.     Yes.                                                            13:34:48
 24            A.     I'm not sure what you mean by "the                              13:34:48
 25     White House."        Stephen Miller works in the White                        13:34:50


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  1     House.      So I suppose, by definition, an opinion                          13:34:52
  2     of Mr. Miller's is an opinion of someone who                                 13:34:54
  3     works in the White House.                                                    13:34:57
  4            Q.     Did you believe that Mr. Miller was                            13:34:59
  5     conveying a position that was a position that was                            13:35:01
  6     not just Mr. Miller's personal opinion?                                      13:35:06
  7                   MR. KIRSCHNER:       Objection.       Calls for                13:35:10
  8     speculation.                                                                 13:35:10
  9            A.     You know, I don't know.          I really don't                13:35:16
 10     know how to answer that question.                                            13:35:18
 11            Q.     Okay.    We may come back to that.                             13:35:20
 12            Did you believe that Mr. Miller was speaking                          13:35:27
 13     on behalf of the White House when you heard that?                            13:35:29
 14                   MR. KIRSCHNER:       Objection.       Asked and                13:35:31
 15     answered.      Calls for speculation.                                        13:35:32
 16            A.     Yeah.    Again, I don't know how to                            13:35:38
 17     answer that, because, you know, I worked for the                             13:35:40
 18     government for 34 years and sometimes you would                              13:35:42
 19     hear from someone from the Department of Defense                             13:35:45
 20     and someone from the Department of Justice and                               13:35:46
 21     someone from the White House, and sometimes                                  13:35:48
 22     they're giving you their opinion; sometimes                                  13:35:57
 23     they're speaking in a broader sense on -- on the                             13:36:00
 24     part of the Administration.            But, you know, at                     13:36:02
 25     the end of the day, Stephen Miller is an                                     13:36:05


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  1     important actor in the White House, so what he                               13:36:07
  2     says about an important policy matter is                                     13:36:12
  3     significant, whether he is speaking for himself                              13:36:16
  4     or speaking for -- in the name of the                                        13:36:20
  5     Administration.                                                              13:36:24
  6            Q.     And what made you think that Mr. Miller                        13:36:25
  7     was an important actor in the White House?                                   13:36:26
  8                   MR. KIRSCHNER:       Objection.       Calls for                13:36:30
  9     speculation.                                                                 13:36:32
 10            A.     You know, I can't point to anything                            13:36:39
 11     specific.      It was well known, was and is well                            13:36:40
 12     known that he was and is.                                                    13:36:43
 13            Q.     Is it -- was it well known at the time                         13:36:46
 14     that you were working in the Department of                                   13:36:49
 15     Homeland Security that he was very close to the                              13:36:50
 16     President?                                                                   13:36:53
 17                   MR. KIRSCHNER:       Objection.       Assumes                  13:36:53
 18     facts not in evidence.           Calls for speculation.                      13:36:55
 19            A.     So I don't know for a fact that he's                           13:37:00
 20     very close to the President, but I certainly know                            13:37:01
 21     that -- that people believe he's close to the                                13:37:03
 22     President.                                                                   13:37:08
 23            Q.     You communicated in the previous                               13:37:17
 24     deposition that you were in a couple of meetings                             13:37:20
 25     with Mr. Miller and a gentleman named John                                   13:37:22


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 ·1· · · · A.· ·It would have come up simply as one of                             14:27:37
 ·2· ·the elements that would be important to U.S.                                 14:27:39
 ·3· ·policy in Latin America.                                                     14:27:43
 ·4· · · · Q.· ·Do you recall expressing a position                                14:27:50
 ·5· ·about that issue?                                                            14:27:52
 ·6· · · · A.· ·Yes.· I recall saying that -- that it                              14:28:01
 ·7· ·was important to be conscious of how issues like                             14:28:09
 ·8· ·trade and TPS play in Latin America, as you                                  14:28:14
 ·9· ·formulate a policy toward Latin America.                                     14:28:18
 10· · · · Q.· ·And do you recall the name of the                                  14:28:22
 11· ·person who worked for Mr. Kushner?                                           14:28:24
 12· · · · A.· ·His first name is John.· I'll think of                             14:28:30
 13· ·it.                                                                          14:28:31
 14· · · · Q.· ·Okay.· Do you recall John -- we'll call                            14:28:34
 15· ·him John since that's what we know right now --                              14:28:36
 16· ·engaging in that conversation?                                               14:28:38
 17· · · · A.· ·I recall him listening respectfully.                               14:28:43
 18· · · · Q.· ·Do you recall him responding at all?                               14:28:46
 19· · · · A.· ·I don't.                                                           14:28:49
 20· · · · Q.· ·Do you recall TPS coming up in any                                 14:28:51
 21· ·other context in these meetings?                                             14:28:52
 22· · · · A.· ·I don't.                                                           14:28:59
 23· · · · Q.· ·Did any of these meetings concern                                  14:29:04
 24· ·borders and immigration-related issues?                                      14:29:08
 25· · · · A.· ·Sort of obliquely.· The meeting about                              14:29:16


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 ·1· · · · A.· ·So a PC is different from a PCC.· A PC                             14:38:03
 ·2· ·is a principals committee meeting.· And a                                    14:38:07
 ·3· ·principals committee meeting is a -- generally a                             14:38:10
 ·4· ·cabinet-level meeting.· It's not -- it's not a                               14:38:15
 ·5· ·cabinet meeting.· It's a meeting of people at the                            14:38:21
 ·6· ·cabinet level to coordinate policy.                                          14:38:23
 ·7· · · · Q.· ·So who -- and --                                                   14:38:26
 ·8· · · · A.· ·And, sorry, just to finish.                                        14:38:29
 ·9· · · · A paper PC would be a virtual meeting that                              14:38:31
 10· ·takes place on paper rather than convening those                             14:38:36
 11· ·people in a meeting.                                                         14:38:41
 12· · · · Q.· ·Okay.· And then two e-mails up,                                    14:38:48
 13· ·Mr. Hamilton is speaking about three different                               14:38:52
 14· ·types of convenings, either convenings on paper,                             14:38:56
 15· ·I imagine, or convenings in person, that PCC and                             14:39:00
 16· ·the PC which we spoke about, and then also a DC.                             14:39:04
 17· · · · Do you see that?                                                        14:39:06
 18· · · · A.· ·I do.                                                              14:39:07
 19· · · · Q.· ·What does a DC refer to?                                           14:39:08
 20· · · · A.· ·A DC is a deputies committee meeting.                              14:39:11
 21· · · · Q.· ·And what is that?                                                  14:39:15
 22· · · · A.· ·So there's a -- there's an order to                                14:39:18
 23· ·these things.· A PCC is the lowest level of the                              14:39:20
 24· ·three.· As I say, it takes place at the -- sort                              14:39:25
 25· ·of high-working level.· A deputies committee                                 14:39:28


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 ·1· · · · A.· ·So these meetings, PCCs, deputies                                  14:43:07
 ·2· ·committee meetings and principals committee                                  14:43:13
 ·3· ·meetings are convened by the White House.                                    14:43:16
 ·4· · · · Q.· ·Is there a particular entity or                                    14:43:21
 ·5· ·particular people in the White House convene such                            14:43:23
 ·6· ·meetings?                                                                    14:43:26
 ·7· · · · A.· ·So, in my experience, the ones I'm                                 14:43:30
 ·8· ·familiar with, they're convened by the National                              14:43:32
 ·9· ·Security Council.                                                            14:43:35
 10· · · · Q.· ·Have you attended a principals                                     14:43:36
 11· ·committee meeting?                                                           14:43:38
 12· · · · A.· ·Well, I'm trying to remember now if I                              14:43:44
 13· ·attended this one or not with the Secretary.                  I              14:43:45
 14· ·don't recall attending any other principals                                  14:43:51
 15· ·committee meetings but I may have been at this                               14:43:54
 16· ·one.                                                                         14:43:56
 17· · · · Q.· ·Do you have an understanding, not                                  14:43:57
 18· ·specifically speaking about this one, but                                    14:44:00
 19· ·generally about how many people are at principals                            14:44:01
 20· ·committee meetings --                                                        14:44:04
 21· · · · A.· ·So, again, it's --                                                 14:44:06
 22· · · · Q.· ·-- if there's a standard?                                          14:44:06
 23· · · · A.· ·-- it's ad hoc.· It's as necessary.· So                            14:44:08
 24· ·they don't invite people to principals committee                             14:44:09
 25· ·meetings just because they think everybody should                            14:44:13


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 ·1· ·just don't have a vivid memory of it.                                        14:49:57
 ·2· · · · Q.· ·You don't -- do you know either from                               14:49:59
 ·3· ·your recollection of recognizing that it is                                  14:50:02
 ·4· ·incomplete or from your understanding of how                                 14:50:05
 ·5· ·principals committee work -- how principals                                  14:50:08
 ·6· ·committees work who would have been the author of                            14:50:12
 ·7· ·this document, which does not have an author?                                14:50:14
 ·8· · · · · · ·MR. KIRSCHNER:· Objection.· Calls for                              14:50:17
 ·9· ·speculation.                                                                 14:50:17
 10· · · · A.· ·Right.· So I don't know who would have                             14:50:21
 11· ·been the author of this document.· My assumption,                            14:50:24
 12· ·and it's -- it is an assumption, is that the                                 14:50:28
 13· ·document would -- would have been produced by the                            14:50:32
 14· ·White House for discussion by the principals.                                14:50:35
 15· · · · Q.· ·What gives you that suspicion?                                     14:50:38
 16· · · · A.· ·That would be a -- a normal procedure.                             14:50:42
 17· · · · Q.· ·Is that a normal procedure for                                     14:50:47
 18· ·principals committees?                                                       14:50:49
 19· · · · A.· ·That's a normal procedure for meetings                             14:50:51
 20· ·convened by the White House for discussion with                              14:50:54
 21· ·the inner agency.                                                            14:50:56
 22· · · · Q.· ·So the document has two pages that have                            14:51:00
 23· ·text on them.· I think you don't need to go over                             14:51:03
 24· ·the first page and a half, which I think probably                            14:51:08
 25· ·generally will be familiar with you from all the                             14:51:10


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 ·1· · · · Q.· ·Do you recall whether there was the                                15:51:27
 ·2· ·same divide between the Western Hemisphere                                   15:51:29
 ·3· ·Affairs and PRM regarding the recommendation from                            15:51:31
 ·4· ·the State Department with regard to Honduras?                                15:51:37
 ·5· · · · A.· ·I believe there was.                                               15:51:39
 ·6· · · · · · ·MR. KIRSCHNER:· I was going to object                              15:51:41
 ·7· ·as speculative and lack of foundation.                                       15:51:43
 ·8· · · · Q.· ·Do you recall whether there were                                   15:51:45
 ·9· ·essentially the same issues that were being                                  15:51:47
 10· ·presented by Western Hemisphere as to why TPS                                15:51:51
 11· ·should be extended?                                                          15:51:54
 12· · · · · · ·MR. KIRSCHNER:· So objection.· Hearsay.                            15:51:55
 13· · · · A.· ·Yes.· I believe so, because there was                              15:51:59
 14· ·an understanding, both in my office and in the                               15:52:01
 15· ·Department of State, that it was important, to                               15:52:06
 16· ·the extent possible, treat Honduras and                                      15:52:09
 17· ·El Salvador in a similar fashion.                                            15:52:13
 18· · · · Q.· ·So what kinds of conversations did you                             15:52:19
 19· ·have with Mr. Henshaw?                                                       15:52:21
 20· · · · A.· ·So they were the same sorts of                                     15:52:28
 21· ·conversations that I had with Mr. Creamer.· You                              15:52:30
 22· ·know, what I was doing was I was pulling all the                             15:52:32
 23· ·levers that I could among the people I knew in                               15:52:35
 24· ·the Department of State to try and serve my                                  15:52:38
 25· ·Secretary by getting her the gosh darn paperwork                             15:52:42


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 ·1· ·in the most timely fashion possible.                                         15:52:46
 ·2· · · · Q.· ·So do you recall about how often you                               15:52:56
 ·3· ·had conversations with Mr. Henshaw about TPS?                                15:53:00
 ·4· · · · A.· ·I don't.· You know, we're all busy                                 15:53:05
 ·5· ·people, so, you know, I would have started                                   15:53:10
 ·6· ·engaging him on this, as with Mr. Creamer, you                               15:53:13
 ·7· ·know, as -- as the time began to draw near,                                  15:53:20
 ·8· ·right?· As it became clear that we -- that we                                15:53:23
 ·9· ·needed the paperwork soon and we didn't have it,                             15:53:28
 10· ·you know.· And as time went on, I would engage                               15:53:31
 11· ·more frequently as -- as the deadline loomed.                                15:53:34
 12· · · · Q.· ·Can you describe to me who Ken Merton                              15:53:49
 13· ·is at the State Department?                                                  15:53:51
 14· · · · A.· ·Yes.· Ken, during my time at DHS, was a                            15:53:53
 15· ·Deputy Assistant Secretary of State, who covered,                            15:54:01
 16· ·among other things, Haiti.                                                   15:54:08
 17· · · · Q.· ·Can you describe about how often you                               15:54:13
 18· ·had communications with Mr. Merton about TPS?                                15:54:16
 19· · · · A.· ·Just a couple of times.                                            15:54:21
 20· · · · Q.· ·In the previous deposition, you                                    15:54:28
 21· ·described your communications with Mr. Merton as                             15:54:30
 22· ·essentially having the backdrop of an expected                               15:54:32
 23· ·termination of TPS for Haiti; to be clear, that                              15:54:37
 24· ·was my question, rephrasing one of the things                                15:54:39
 25· ·that you had said earlier, so those are not your                             15:54:41


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 ·1· ·words.· But you responded with, "That's my                                   15:54:43
 ·2· ·recollection."                                                               15:54:46
 ·3· · · · Do you recall conversations with Mr. Merton                             15:54:48
 ·4· ·about -- about the expected termination of TPS                               15:54:52
 ·5· ·for Haiti?                                                                   15:54:59
 ·6· · · · A.· ·Yes.                                                               15:55:01
 ·7· · · · Q.· ·Do you recall when you had those                                   15:55:02
 ·8· ·conversations?                                                               15:55:03
 ·9· · · · A.· ·I don't, but, again, it would have been                            15:55:05
 10· ·driven by -- by time; right?· So those                                       15:55:08
 11· ·conversations would have taken place near to the                             15:55:11
 12· ·deadline for making the Haiti TPS decision.                                  15:55:15
 13· · · · Q.· ·You previously testified that early on                             15:55:19
 14· ·in your time at DHS, from conversations that you                             15:55:22
 15· ·had had with then Secretary of Homeland Security                             15:55:25
 16· ·Kelly, that there was an understanding that                                  15:55:30
 17· ·Haiti -- that TPS for Haiti would be terminated.                             15:55:33
 18· ·Is that your recollection?                                                   15:55:37
 19· · · · A.· ·So my recollection is that in talking                              15:55:39
 20· ·to then Secretary Kelly, I had the impression                                15:55:44
 21· ·that he had foreshadowed the termination, the                                15:55:47
 22· ·eventual termination of TPS for Haiti.                                       15:55:52
 23· · · · Q.· ·What gave you that impression from your                            15:55:55
 24· ·conversations with Secretary Kelly?                                          15:55:56
 25· · · · · · ·MR. KIRSCHNER:· Objection.· Assumes                                15:56:00


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 ·1· ·facts not in evidence.· It's not exactly what                                15:56:02
 ·2· ·Ambassador Nealon testified to.                                              15:56:07
 ·3· · · · A.· ·So I do recall having a conversation                               15:56:10
 ·4· ·with then Secretary Kelly about TPS for Haiti.                               15:56:12
 ·5· ·And he expressed his -- he expressed a lot of                                15:56:16
 ·6· ·sympathy for -- for Haitians and for Haitians who                            15:56:22
 ·7· ·are here on TPS.· But he also expressed a lot of                             15:56:28
 ·8· ·frustration with the Haitian government.· And                                15:56:31
 ·9· ·specifically that he didn't believe that they                                15:56:36
 10· ·were doing what he had asked them to do in order                             15:56:39
 11· ·to help make conditions better so that they could                            15:56:43
 12· ·bring their people home and prepare to eventually                            15:56:49
 13· ·bring their people home.· And I recall that he                               15:56:54
 14· ·was frustrated at that.                                                      15:56:56
 15· · · · Q.· ·Was it your recollection that it had                               15:56:58
 16· ·been communicated to the Haitian government that                             15:57:00
 17· ·TPS was likely to be terminated at the next                                  15:57:02
 18· ·review?                                                                      15:57:05
 19· · · · A.· ·So I don't know what he had                                        15:57:07
 20· ·communicated to the Haitian government, because                              15:57:09
 21· ·this had all taken place before I came on board.                             15:57:13
 22· ·But my impression, and, again, this is my                                    15:57:16
 23· ·impression from talking to General Kelly, was                                15:57:19
 24· ·that he had foreshadowed with them the                                       15:57:22
 25· ·termination of TPS.                                                          15:57:29


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 ·1· ·whoever.                                                                     15:59:53
 ·2· · · · But I do recall having conversations with                               15:59:54
 ·3· ·people at State Department about the fact that                               15:59:57
 ·4· ·the paperwork seemed to be stuck in the policy                               16:00:02
 ·5· ·planning office and wondering if that was because                            16:00:06
 ·6· ·they didn't like the recommendation that had come                            16:00:18
 ·7· ·forward or -- or if they were putting their own                              16:00:20
 ·8· ·political stamp on it or what.· But it seemed                                16:00:25
 ·9· ·unusual to me that the paperwork seemed to be                                16:00:28
 10· ·stuck in that office for such a long time.                                   16:00:34
 11· · · · Q.· ·And did you get any response from                                  16:00:37
 12· ·anyone in the State Department about whether your                            16:00:40
 13· ·presumption that that was strange was a shared                               16:00:43
 14· ·assumption or was accurate?                                                  16:00:47
 15· · · · A.· ·Again, you know, these are                                         16:00:50
 16· ·conversations between old friends and colleagues.                            16:00:51
 17· ·And, you know, I recall talking about this --                                16:00:54
 18· · · · Q.· ·Mm-hmm.                                                            16:00:59
 19· · · · A.· ·-- I -- I don't recall either of the                               16:01:00
 20· ·two gentlemen we've discussed saying, yeah, this                             16:01:02
 21· ·is how it is there.· I remember us postulating,                              16:01:05
 22· ·wondering, you know, thinking out loud.· But I                               16:01:09
 23· ·don't recall anyone saying, yes, the -- this is                              16:01:12
 24· ·now a political process and that office is                                   16:01:17
 25· ·politicized.                                                                 16:01:22


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 ·1· · · · Q.· ·Do you recall that they -- that any one                            16:01:22
 ·2· ·of the people that you were in touch with at the                             16:01:25
 ·3· ·State Department had a feeling, suspicion that                               16:01:27
 ·4· ·the process had become politicized in some way?                              16:01:32
 ·5· · · · · · ·MR. KIRSCHNER:· Objection.· Calls for                              16:01:35
 ·6· ·speculation.                                                                 16:01:35
 ·7· · · · A.· ·Yeah.· Again, I don't recall anyone                                16:01:36
 ·8· ·saying that to me.· I recall discussing the                                  16:01:39
 ·9· ·issue.                                                                       16:01:42
 10· · · · Q.· ·Do you recall what others at the State                             16:01:44
 11· ·Department were saying about the issue?                                      16:01:45
 12· · · · · · ·MR. KIRSCHNER:· Objection.· Calls for                              16:01:47
 13· ·speculation.                                                                 16:01:48
 14· · · · A.· ·You mean other people?                                             16:01:49
 15· · · · Q.· ·Yeah.· I mean, the people -- either the                            16:01:50
 16· ·people that you have mentioned already or other                              16:01:52
 17· ·people.· But whether -- I mean, you expressed                                16:01:53
 18· ·your feelings about this.· And, obviously, as we                             16:01:56
 19· ·talked about in the previous deposition, there                               16:01:59
 20· ·were extraordinary delays even though there were                             16:02:01
 21· ·records that, you know, the recommendation had                               16:02:03
 22· ·been sitting at a very high level in the                                     16:02:05
 23· ·Secretary's office or the Office of Policy                                   16:02:08
 24· ·Planning for an extended period of time.· So, you                            16:02:09
 25· ·know, did you have an understanding from any of                              16:02:14


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 ·1· ·these people what their suspicions were?                                     16:02:17
 ·2· · · · · · ·MR. KIRSCHNER:· Objection.· Calls for                              16:02:20
 ·3· ·speculation.                                                                 16:02:21
 ·4· · · · A.· ·No.· I mean, I think I understand the                              16:02:24
 ·5· ·question.· And, again, there -- there was a lot                              16:02:26
 ·6· ·of frustration expressed all around.                                         16:02:33
 ·7· · · · Q.· ·Mm-hmm.                                                            16:02:35
 ·8· · · · A.· ·Because I kept calling and they kept                               16:02:36
 ·9· ·having to take my calls because we're friends,                               16:02:40
 10· ·and they had to keep giving me the same answer,                              16:02:42
 11· ·which was that they didn't know when the memo was                            16:02:45
 12· ·going to pop out and they didn't know what it was                            16:02:48
 13· ·going to say.                                                                16:02:51
 14· · · · And so there was frustration all around.                                16:02:52
 15· ·And that sort of became the tenor of the                                     16:02:55
 16· ·discussions as time went on, as the deadline                                 16:02:57
 17· ·loomed.                                                                      16:03:01
 18· · · · Q.· ·What gave you the suspicion that there                             16:03:01
 19· ·had been some politicalization or political stamp                            16:03:02
 20· ·that was put on the decision-making process at                               16:03:07
 21· ·the State Department?                                                        16:03:09
 22· · · · · · ·MR. KIRSCHNER:· Objection.                                         16:03:10
 23· ·Mischaracterizes testimony.· Assumes facts not in                            16:03:10
 24· ·evidence.                                                                    16:03:13
 25· · · · A.· ·So I thought that this wasn't the most                             16:03:22


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 ·1· ·consequential decision that Secretary Tillerson                              16:03:33
 ·2· ·would ever make and that, you know, if you look                              16:03:36
 ·3· ·at the range of things that are on his plate                                 16:03:39
 ·4· ·every day, this isn't one that should take a                                 16:03:41
 ·5· ·really long time to -- for him to sign.                                      16:03:45
 ·6· · · · And so what that told me, rightly or                                    16:03:49
 ·7· ·wrongly, is that -- is that politics had entered                             16:03:53
 ·8· ·the game and that the thing had gotten stuck.                                16:03:59
 ·9· · · · Q.· ·Thank you.· I understand that's not,                               16:04:12
 10· ·you know, definite, but it's obviously informed                              16:04:14
 11· ·understanding.                                                               16:04:18
 12· · · · · · ·MR. KIRSCHNER:· Objection.· Counsel is                             16:04:18
 13· ·testifying.                                                                  16:04:19
 14· ·BY MS. MacLEAN:                                                              16:04:25
 15· · · · Q.· ·So you testified previously that                                   16:04:43
 16· ·Secretary Tillerson -- or that you were aware                                16:04:45
 17· ·that then Secretary Tillerson had communicated                               16:04:48
 18· ·with both Chad Wolf and Secretary Duke regarding                             16:04:55
 19· ·TPS as had been publicly reported?                                           16:05:01
 20· · · · · · ·MR. KIRSCHNER:· Objection.· I'm -- I'm                             16:05:04
 21· ·not sure that -- I --                                                        16:05:07
 22· · · · · · ·MS. MacLEAN:· I don't want to                                      16:05:09
 23· ·mischaracterize.                                                             16:05:10
 24· · · · · · ·MR. KIRSCHNER:· -- don't want you to                               16:05:10
 25· ·mischaracterize evidence, so I just -- if you                                16:05:11


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 ·1· ·have a perfect -- a cite to the testimony                                    16:05:12
 ·2· ·previously, that Ambassador Nealon said, I would                             16:05:16
 ·3· ·prefer to do that.                                                           16:05:19
 ·4· ·BY MS. MacLEAN:                                                              16:05:21
 ·5· · · · Q.· ·So on Page 158, Line 5, and it was in                              16:05:25
 ·6· ·reference to the exhibit that is marked                                      16:05:40
 ·7· ·Exhibit 35, which you have in front of you as                                16:05:43
 ·8· ·well.                                                                        16:05:45
 ·9· · · · "Tillerson told Homeland Security's Acting                              16:05:49
 10· ·Secretary Elaine Duke that conditions in Central                             16:05:53
 11· ·America and Haiti had improved."                                             16:05:54
 12· · · · That was a direct quote from the article.                               16:05:56
 13· ·And I asked:                                                                 16:05:59
 14· · · · "QUESTION:· Are you aware" --                                           16:06:03
 15· · · · The direct quote is, in quotes from the                                 16:06:04
 16· ·article, "Tillerson told Homeland Security's                                 16:06:06
 17· ·Acting Secretary Elaine Duke that conditions in                              16:06:08
 18· ·Central America and Haiti had improved and that                              16:06:11
 19· ·TPS protections were no longer warranted.· When                              16:06:13
 20· ·the two spoke by phone, Tillerson told Duke                                  16:06:16
 21· ·ending TPS 'was just something she had to do.'"                              16:06:19
 22· · · · And I asked:                                                            16:06:21
 23· · · · "QUESTION:· Are you aware of conversation                               16:06:22
 24· ·like the conversation that's described in this                               16:06:23
 25· ·paragraph?"                                                                  16:06:26


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  1                     C E R T I F I C A T E

  2    COMMONWEALTH OF MASSACHUSETTS

  3    SUFFOLK, SS.

  4           I, Janet M. Sambataro, a Registered Merit

  5    Reporter and a Notary Public within and for the

  6    Commonwealth of Massachusetts do hereby certify:

  7           THAT JAMES NEALON, the witness whose testimony

  8    is hereinbefore set forth, was duly sworn by me and

  9    that such testimony is a true and accurate record of

 10    my stenotype notes taken in the foregoing matter, to

 11    the best of my knowledge, skill and ability; that

 12    before completion of the deposition review of the

 13    transcript was requested.

 14           I further certify that I am not related to any

 15    parties to this action by blood or marriage; and that

 16    I am in no way interested in the outcome of this

 17    matter.

 18           IN WITNESS WHEREOF, I have hereunto set my hand

 19    this 23rd day of August, 2018.

 20                                          ~~           .' C : -·   L   _,J-,,..,., : -
                                             (/         veu?tO~
 21                                          ____________________
                                             JANET M. SAMBATARO
 22                                          Notary Public
       My Commission Expires:
 23    July 16, 2021

 24

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